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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 TELEBRANDS CORPORATION,

                               Plaintiff,

 v.                                                     C.A. No. 24-799-RGA

 PINNACLE BRANDS, LLC,
                                                        DEMAND FOR JURY TRIAL
                               Defendant.


            FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Telebrands Corporation (“Plaintiff” or “Telebrands”) hereby files this First

Amended Complaint for patent infringement against Defendant Pinnacle Brands, LLC

(hereinafter, “Defendant” or “Pinnacle Brands”) and alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for patent infringement of U.S. Patent Nos. 9,581,272 (the “’272

Patent”) and 9,841,127 (the “’127 Patent”) (collectively, the “Asserted Patents”) in violation of

the Patent Laws of the United States, 35 U.S.C. § 1, et seq.

                                            THE PARTIES

       2.      Plaintiff Telebrands Corporation is a corporation organized and existing under the

laws of the State of New Jersey, having a place of business at 79 Two Bridges Road, Fairfield,

New Jersey, 07004.

       3.      Upon information and belief, Defendant Pinnacle Brands, LLC is a limited

liability company organized and existing under the laws of the State of Delaware, having a

principal place of business at 301 Route 17 North, Suite 800, Rutherford, New Jersey 07070.




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Upon information and belief, Pinnacle Brands does business throughout the United States and

within the State of Delaware.

                                 JURISDICTION AND VENUE

       4.      This Court has subject matter jurisdiction over the patent infringement claims set

forth herein pursuant to 28 U.S.C. §§ 1331 and 1338.

       5.      This Court has personal jurisdiction over Pinnacle Brands because Pinnacle Brands

is incorporated in Delaware, and regularly transacts business in Delaware, including offering for

sale in, selling in, and/or importing into, the United States expandable hoses, including within this

District. Defendant has a registered agent in Delaware: Corporate Service Bureau Inc., 614 N.

Dupont Hwy., Suite 210, Dover, Delaware 19901.

       6.      Venue is proper pursuant to 28 U.S.C. § 1400(b) because Pinnacle Brands is

incorporated in Delaware and thus resides in this District.

                                     THE PATENTS-IN-SUIT

       7.      Telebrands repeats, realleges, and incorporates by reference the allegations set

forth in Paragraphs 1 through 6 as if set forth herein in their entirety.

       8.      Telebrands is the owner of the ’272 Patent, entitled “Garden Hose,” which the

United States Patent and Trademark Office (“USPTO”) duly and lawfully issued on February 28,

2017. A true and correct copy of the ’272 Patent is attached hereto as Exhibit A.

       9.      Telebrands is the owner of the ’127 Patent, entitled “Garden Hose Device and

Method,” which the USPTO duly and lawfully issued on December 12, 2017. A true and correct

copy of the ’127 Patent is attached hereto as Exhibit B.




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                     GENERAL ALLEGATIONS AND BACKGROUND

       10.     Telebrands repeats, realleges, and incorporates by reference the allegations set

forth in Paragraphs 1 through 9 as if set forth herein in their entirety.

       11.     Telebrands is a direct marketing company and is engaged in the business of

marketing and selling a wide variety of consumer products, through direct response advertising,

catalog, mail order, and Internet sales, and national retail stores.

       12.     For over thirty years, Telebrands has been a leading developer and marketer of

consumer products. Telebrands is widely known through the retail industry for its success in

driving retail sales through its nationwide advertising programs. Telebrands expends significant

human and financial resources cultivating relationships with a wide variety of retailers, e.g.,

large retail chains, catalogs, and retail websites, which buy Telebrands’ products.

       13.     For over ten years, Telebrands has been marketing and selling its expandable

hose, which it currently sells under the trademark POCKET HOSE® and other related marks.

The POCKET HOSE® hose is light in weight, does not kink when unwrapped or uncoiled, can

expand up to three times its length when pressurized water is flowing through it, and can

automatically contract to a reduced length when the water is released from it. The POCKET

HOSE® hose has been and continues to be a massive success in the United States. Telebrands is

the owner of all intellectual property rights in connection with the POCKET HOSE® hose

including, without limitation, the patent rights asserted in this First Amended Complaint.

       14.     Indicative of the ingenuity and popularity of Telebrands’ POCKET HOSE® hose,

Defendant has impermissibly promoted and sold and continues to impermissibly promote and

sell infringing expandable hose products embodying the inventions protected by the Asserted

Patents. Specifically, Defendant impermissibly promotes, sells, and imports at least, but not




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limited to, the following infringing expandable hose products: the Rugged Hose, 50 foot; the

Perfect Hose Deluxe Pro Full Size Garden Hose, 100 foot; the Perfect Hose Brass Fitting, 100

foot; the Perfect Hose Brass Fitting, 50 foot; the Perfect Hose Deluxe, 100 foot; the Perfect Hose

Deluxe, 50 foot, the Perfect Hose Deluxe Pro, 100 foot; the Perfect Hose Deluxe Pro, 50 foot;

the Perfect Hose Deluxe Rugged Series, 100 foot; the Perfect Hose Deluxe Rugged Series, 50

foot; the Perfect Hose, 100 foot; and the Perfect Hose, 50 foot (hereinafter the “Accused

Products”). A screen shot of Big Lots Stores, Inc.’s website,

https://www.biglots.com/product/50-perfect-hose-

deluxe/p810229912?srsltid=AfmBOorIibbkfFb1tHlkdrYliDDesxkZ1BLCMG3QSiqPvIPJ3u70e

K1E, promoting one of the Accused Products is attached hereto as Exhibit C.

                                      COUNT I
                          (INFRINGEMENT OF THE ’272 PATENT)

       15.     Telebrands repeats, realleges, and incorporates by reference the allegations set

forth in Paragraphs 1 through 14 as if set forth herein in their entirety.

       16.     Defendant has directly infringed and continues to directly infringe, either literally

or under the doctrine of equivalents, at least Claim 1 of the ’272 Patent by making, using,

offering for sale, and/or selling within the United States, and/or importing into the United States

the Accused Products in violation of 35 U.S.C. § 271(a).

       17.     For example, as set forth in the attached exemplary claim chart provided in

Exhibit D, the Accused Products include all of the limitations of at least Claim 1 of the ’272

Patent and, therefore the Accused Products directly infringe at least Claim 1 of the ’272 Patent

under 35 U.S.C. § 271(a).

       18.     Telebrands has been and continues to be damaged by Defendant’s infringement of

the ’272 Patent, has been and continues to be irreparably harmed by that infringement, and will



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suffer additional damages and irreparable harm unless this Court enjoins Defendant from further

infringement.

       19.      Due to Defendant’s past and ongoing infringement of the ’272 Patent, Telebrands

is entitled to monetary damages in an amount to be determined at trial, which may include lost

profits but in no event less than a reasonable royalty.

                                     COUNT II
                          (INFRINGEMENT OF THE ’127 PATENT)

       20.      Telebrands repeats, realleges, and incorporates by reference the allegations set

forth in Paragraphs 1 through 19 as if set forth herein in their entirety.

       21.      Defendant has directly infringed and continues to directly infringe, either literally

or under the doctrine of equivalents, at least Claim 1 of the ’127 Patent by making, using,

offering for sale, and/or selling within the United States, and/or importing into the United States

the Accused Products in violation of 35 U.S.C. § 271(a).

       22.      For example, as set forth in detail in the attached preliminary and exemplary

claim chart provided in Exhibit E, the Accused Products include all of the limitations of at least

Claim 1 of the ’127 Patent and, therefore the Accused Products directly infringe at least Claim 1

of the ’127 Patent under 35 U.S.C. § 271(a).

       23.      Defendant had knowledge of the ’127 Patent since at least on or around February

28, 2023 when Telebrands sent Defendant a draft complaint regarding Defendant’s infringement

of the ’127 Patent for Defendant’s making, using, offering for sale, selling and/or importing

expandable hoses which read on at least claim 1 of the ’127 Patent, including but not limited to

Defendant’s Perfect Hose Deluxe and Perfect Hose Deluxe Pro expandable hoses of various

sizes, including at least 50 and 100 feet. The draft complaint also included a claim chart which

detailed Defendant’s Perfect Hose Deluxe and Perfect Hose Deluxe Pro products infringement of



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claim 1 of the ’127 Patent. Therefore, Defendant has known, since at least February 28, 2023,

that manufacturing, using, selling, offering to sell, and importing into the United States the

Accused Products constitutes direct infringement of the ’127 Patent.

          24.   Telebrands has been and continues to be damaged by Defendant’s infringement of

the ’127 Patent, has been and continues to be irreparably harmed by that infringement, and will

suffer additional damages and irreparable harm unless this Court enjoins Defendant from further

infringement.

          25.   Due to Defendant’s past and ongoing infringement of the ’127 Patent, Telebrands

is entitled to monetary damages in an amount to be determined at trial, which may include lost

profits but in no event less than a reasonable royalty.

          26.   Defendant’s infringement of at least Claim 1 of the ’127 Patent has been and

continues to be willful and deliberate. As a result, Telebrands is entitled to increased damages

pursuant to 35 U.S.C. § 284, and to attorneys’ fees and costs incurred in prosecuting this action

pursuant to 35 U.S.C. § 285.

                                     PRAYER FOR RELIEF

          WHEREFORE, Telebrands prays that this Court enter judgment as follows:

          A.    that Defendant has infringed and is infringing each of the ’272 Patent and the ’127

Patent;

          B.    that such infringement of at least the ’127 Patent was and is willful;

          C.    preliminarily and permanently enjoining Defendant, its principals, officers,

directors, agents, servants, employees, affiliates, successors and assigns, dealers, retailers,

distributors, manufacturers, and all others in active concert and/or participation with Defendant,

from infringing the ’272 Patent and the ’127 Patent, pursuant to 35 U.S.C. § 283;




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       D.      awarding Telebrands damages for Defendant’s direct infringement of both the

’272 Patent and the ’127 Patent, in an amount to be ascertained at trial, including at least a

reasonable royalty and/or Defendant’s lost profits, together with interest and costs, pursuant to

35 U.S.C. § 284;

       E.      trebling the amount of damages for Defendant’s infringement of the ’127 Patent,

pursuant to 35 U.S.C. § 284;

       F.      finding the case exceptional and awarding Telebrands reasonable attorneys’ fees,

pursuant to 35 U.S.C. § 285; and

       G.      granting Telebrands such other and further relief in law or in equity as this Court

deems just or proper.

                                 DEMAND FOR JURY TRIAL

       Telebrands demands a trial by jury on all issues so triable.




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 Dated: January 21, 2025




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